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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS


 STRIKE 3 HOLDINGS, LLC,                        Civil Case No. 3:23-cv-01669-B

        Plaintiff,                              Judge Jane J. Boyle

 v.

 JOHN DOE subscriber assigned IP address
 24.170.6.13,

        Defendant.


[PROPOSED] ORDER ON PLAINTIFF’S APPLICATION FOR EXTENSION OF TIME
              WITHIN WHICH TO EFFECTUATE SERVICE
                     ON JOHN DOE DEFENDANT
       THIS CAUSE came before the Court upon Plaintiff’s application for entry of an Order

extending the time within which to effectuate service on John Doe Defendant with a summons

and Amended Complaint, and the Court being duly advised in the premises does hereby:

       ORDER AND ADJUDGE: Plaintiff’s application is granted. Plaintiff shall have until

December 24, 2023 to effectuate service of a summons and Amended Complaint on Defendant.

       SO ORDERED this ______ day of _______________________, 2023.




                                           By:_______________________________
                                           United States District Judge
                                           Honorable Jane J. Boyle
